IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF TENNESSEE
AT GREENEVILLE

MARK sALYER,
Petitioner,

-cr-004

Crim. No. 1
3-cv-113

2.1
Civil No. 2:1
Judge Greer

UNITED STATES OF AMERICA,
Respondent.

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ANSWER TO GOVERNMENT'S RESPONSE

COMES NOW, Mark Salyer, Petitioner, pro §§, and respectfully
submits this Answer to the Response (Cr. Doc. 67) filed in
opposition to the pending Motion to Vacate, Set Aside, or Correct
Sentence, filed pursuant to 28 U.S.C. § 2255 in the above styled
actions. In so doing, the Petitioner notes that the Respondent
does not contest the constitutional deficient performance provided
by counsel in the above styled criminal matter, but bases an
opposition entirely on the premise that no prejudice resulted
from those deficiencies. Accordingly, the Petitioner submits
that an Order for Discovery is warranted to determine whether
prejudice did, in fact, result from counsel's defective actions
and requests an evidentiary hearing on the matter. A Motion to

this effect is being submitted contemporaneously with this Answer.

OVERVIEW

The Petitioner has a motion currently pending in the above
styled criminal and civil actions pursuant to 28 U.S.C. § 2255
wherein he sets forth the claim that his guilty plea was entered
involuntarily and unknowingly. He further asserts that his
sentence was therefore tainted with constitutional deficiencies

as well.

On September 16, 2013, the Government filed a Response in
Opposition to the 2255 Motion (Crim. Doc. 67.) The copy afforded
to the Petitioner, however, was misdirected and returned to sender

as undeliverable.

On October 15, 2013, this Honorable Court granted the
Petitioner an extension of thirty (30) days in which to respond

to the Government's Response. (Doc. 69.)

Each of the Respondent's assertions of fact and citations

of law are discussed below in the order they appear in the Response.

FACTUAL DISPUTES

As an initial matter, the Petitioner notes for the record
that a number of factual assertions appear to remain in dispute

and may be pertinent to the disposition of this matter. In so

doing, the Petitioner further notes for the record that the instant
action raises a claim that the guilty plea and related plea agreement
were both products of counsel's constitutional deficient performance
and are therefore invalid. The plea agreement, therefore, cannot be

relied upon as conclusive evidence without additional support.

"In 2004, Petitioner formed SalMar Investors Group, LLC to
pursue various real estate ventures." (Response at 1.) The
Petitioner disputes this assertion. (Memorandum In Support at 4.)
SalMar was formed by 14 individuals, including the Petitioner to
participate in a single real estate venture. (Plea Agreement at 2.)
Only $30,000 went to SalMar from a single MetLife client (PSI at L11)
and that amount was repaid on June 30, 2007. Petitioner was not the
conceiver or driver of this project. (Exhibit 1, attached hereto.

Copy of PSI with notation written by defense counsel in margin.)

"Petitioner incurred millions of dollars of debt as a result of
those ventures and exhausted his personal wealth to keep them
operating." (Response at 1.) Petitioner disputes this assertion.

He did not file bankruptcy until 2009. He lost his personal wealth

as a result of legal actions taken by others in response to the claims
of MetLife. Those claims were filled with half_truths, distortions,
and inflammatory rhetoric not supported by the evidence. (See,

Bankruptcy 2:10-BK-51717, E.D. Tenn. Greeneville (2009)).

As of October 2007, no investor had lost any funds from the
accounts identified by the Petitioner, Banking records taken by
MetLife included funds moving both into and out of clients'
accounts. Allegations made by the prosecution totals only money
moved out of those accounts, but not the funds that were tranferred
back into them. Fumds that had not been returned to individuals,
whether to a MetLife account or to another account owned by that
individual include values that will be determined in litigation.

(§ee, MetLife v. Triple S. et. al., (Sullivan County, Tennessee.)

"Petitioner falsified documents to facilitate wire transfers
of client funds and invested that money in real estate ventures
without their knowledge or authorization." (Response at 1-2.)

In the instant matter, Petitioner asserts that he informed his
attorney that he had verbal instructions from each of the
individuals whose funds were transferred out of MetLife accounts

to place the investments where he believed they would yield the
highest rate of return, with the greates degree of safety and/or
those clients acquiesced to that transfer when notified immediately
following the transfer. (Memorandum in Support at 8.) This claim

was not disputed by the Respondent.

In addition to the foregoing, each transaction automatically

generated a confirmation statement at MetLife's service center

that was mailed directly to the client. Petitioner had no ability
to altar these documents or prevent them from being generated.
Additionally, individuals received monthly, or at least quarterly,
statements from MetLife; again, a process Petitioner had no control

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The Respondent incorrectly identified one of Petitioner's
contentions as a claim that "some of the stipulated loss amounts
resulted from alegedly erroneous payments by MetLife's insurance
carrier." (Response at 5.) To correct the record, the payments in
question were made by "Petitioner's Errors and Omissions insurance

carrier." (Memorandum in Support at 19.)

STATEMENTS OF FACT TO WHICH THERE IS NO DISPUTE

 

1. Mr. Salyer's managing director at MetLife introduced him
to the individuals who initiated the Harmony Project. SalMar
Investors Group, LLC. was formed by numerous individuals to participate

in the Harmony Project. (Memorandum in Support at 4 - 5.)

2. Dan Rawls did not maintain any accounts with MetLife;
he made personal investments into SalMar of his own volition. (Id.)
Yet, although he was not a victim in the above styled criminal action,

he was allowed to allocute at sentencing and argue for a higher sentence.

3_ When presented with the Government's proposed plea agreement,
Mr. Salyer objected to a number of inaccuracies contained therein,
including: (1) the claim that he diverted funds without the clients'
permission; (2) alleged loss amount double-counted funds moving
out of and back into clients' accounts; (3) the claim that he
wrote checks payable to himself totaling $620,500;and (4) the

stipulated loss amount. (l§. at 7 - 10.)

4. Counsel's response was (1) no documents could be
subpoenaed from MetLife, and (2) all loss amounts alleged by the
government counted against him under the Guidelines, even if the
withdrawal was on the client's behalf or repayed to the client

before October of 2007. (ld. at 10.)

5_ Counsel advised that Petitioner's only option was to

accept the plea offer or stand trial. (ld.)

6_ Although he was requested to do so by his client, counsel
refused to object to the PSI guideline calcuation where it (1)
included money that had been reimbursed to investors prior to
October 2007, (2) included approximately $1 million in interest
in the loss calculation, (3) included funds that were never moved
out of MetLife accounts, and (4) enhanced his offense level for

involving more than 10 victims. (;d. at 11 - 12.)

DISCUSSION

The Petitioner notes for the record that the Respondent
grouped some of the grounds raised into single arguments rather
than answering each claim individually. To avoid confusion, the
discussion below will address the arguments as they were presented
in the Response. Any assertions of fact in the original Motion
for Relief and/or Memorandum in Support that was not specifically

denied by the Respondent is presumed to be conceded.

A. Determination of prejudice from counsel's failure
to subpoena documents cannot be determined without
an evidentiary hearing.

The Respondent does not deny that counsel failed utterly
in making any attempt whatsoever to obtain documents that were
converted by MetLife from Petitioner's private office without
a warrant. (§§§, Ground One; Supplemental Pleading at 2»4.)
It is the Respondent's position that, because the Petitioner did
not state the specific documents that should have been subpoenaed,

he has failed to prove prejudice from counsel's failures.

As an initial matter, Petitioner clearly stated that he
informed counsel, "MetLife was in possession of all of his records

which detailed each transaction he made on his client's behalf."

(Memorandum in Support at 20.)

Nevertheless, the documents that were necessary for counsel
to adequately investigate the allegations against Mr. Salyer,
and - equally important - necessary for him to make an educated
recommendation regarding a stipulation of loss amounts, included:
(1) records of transactions for each account maintained by an
alleged victim named in the indictment, and (2) records of
transactions for Horizon Holdings, Inc. and SalMar Investors Group,

LLC. from the Regions Bank in Kingsport, Tennessee.

These records show actual amounts of funds repaid to investors
prior to October of 2007 that could not be counted as loss. As
such, they would demonstrate that (1) some of the stipulated loss
amount involved money that was not actually transferred out of
MetLife accounts; (2) some of the stipulated loss amount reflected
double counting of the same money; (3) money transferred to the
Petitione was offset by deposits made by Petitioner; (4) some of the
stipulated loss amount resulted from erroneous payments by Petitioner's
insurance carrier and MetLife's subsequent claim as loss of those
amounts paid; and (5) individuals received financial value from the
investments into which Petitioner transferred their funds.

(Memorandum in Support at 19-20.)

Further, the results of the ongoing case in MetLife v. Triple
S. et. al., in Sullivan County, Tennessee will deterimine the value
of any membership interest held by any member of any entity. If any
member or owner in any entity suffered a loss, Petitioner would assert
that loss occurred after October 2007 and was the result of the actions

of MetLife.

Accordingly, the Petitioner respectfully submits that, whereas
the Respondent has conceded counsel's constitutionally deficient
performance in the failure to research the most crucial documents
related to the charges against his client, an evidentiary hearing
is necessary to determine the extent of prejudice suffered by Mr.

Salyer,

B. The current record contains enough evidence of errors
in the loss calculation to undermine confidence in the
amount of loss attributed to Mr. Salyer resulting from
counsel's constitutionally deficient assistance.

As an initial matter, because the guidelines for economic
crimes are driven by monetary factors, the first challenge defense
attorney's face is to ensure that those figures are accurately
calculated. For this reason, it was incumbent on counsel to determine
the exact point in time when loss was said to have occurred.

It has always been the Petitioner's contention that no funds were

lost whatsoever as of October of 2007.

Further, it is counsel's responsibility to ensure that the
figure proposed by the government and the PSI does not count the
same money twice. The record in this instance is replete with
such occurrences. (§§§, Exhibit 2.) The fact that Petitioner's
attorney did not conduct even a cursory review of the loss amounts
claimed by the prosecution indicates that many such occurrences
are present in the documentation that was neither requested by
counsel or provided by the prosecution during the pretrial discovery
phase. Counsel therefore recommended acceptance of a plea agreement
containing a stipulation without first conducting any research

whatsoever into its validity.

Defense counsel in fraud cases also need to ensure that losses
that were not caused by the fraud do not affect the guideline

offense level. See, United States v. Rothwell, 387 F.3d 579 (6th

 

Cir. 2004). Due to the inherent fungibility of money, Respondent‘s
claims of one client‘s funds being used to pay others (Response

at 2) are incredible. While the Respondent refers to funds paid

to others, they refuse to acknowledge that the bank statements

of those individuals' accounts would bear out Petitionerfs assertion
that the payments were nothing more than funds which had been

invested for individuals being returned to those same individuals,

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either into their own bank account, their MetLife account, or
another account they desigrated. Each and every one of these
transfers being tracked, documented, and accounted for. All of

those records being among the property converted by MetLife.

With respect to the interest that was added by the PSI into
the loss calculation and is disputed by the Respondent, the Petitioner
urges consideration of the paragraphs initially cited in the Memorandum
in Support of his motion. Paragraph 20 of the PSI notes specifically,
"An additional 557,062.37 in prejudgment interest was ordered,
for a total of 6,284,819.37." Paragraph 24 states, "Based on
the above information, the defendant will be held acountable for

a loss in the amount of 6,807,434.81."

In general, only losses to victims that are directly caused
by fraud are included in loss. Consequential damages, such as
"[i]nterest of any kind, finance charges, late fees, penalties,
amounts based on agreed-upon return or rate of return, or other
similar costs," are not included. U.S.S.G. § 2B1.1, Appl. Note

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In short, the Respondent once again does not deny that counsel
provided constitutionally deficient assistance to Mr. Salyer,

but argues instead that he suffered no prejudice from those failings.

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The Respondent argues that, because Mr. Salyer has not provided
specific documentation to demonstrate the loss calculation is
in error, he is unable to prove that he suffered any prejudice

under Strickland.

The reverse must also then be true: If records demonstrate
that money was reimbursed to investors, that investments made
by the Petitioner retained assets at the time charges were lodged
against him, and that interest was included in the loss amounts
used to form the base offense level, counsel provided constitutionally
deficient assistance in not bringing these facts to the Court's
attention, and Mr. Salyer's sentence was improperly enhanced as

a result.

The Petitioner respectfully asserts that the loss calculation
could only have produced a reliable offense level after taking
into consideration (1) financial transaction statements of the
accountsheldby Horizon Holdings and SalMar Investors Group, LLC
at the Regions Bank in Kingsport, Tennessee; (2) financial
transactions in MetLife accounts for each of the alleged victims;
and (3) holdings of Triple S Horizon in Sullivan County. And,

the calculation should not have included $1 million in interest.

Accordingly, the Petitioner respectfully submits that counsel

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should be appointed to obtain documents related to these matters

and an evidentiary hearing scheduled to consider same.

C. The Respondent's position on the number of victims
is not supported by legal precedence.

 

The Respondent relies on United States v. Yagar, 404 F.3d
967 (6th Cir. 2005) and its progeny as support for the contention
that each individual account holder of MetLife named in the instant
action is appropriately considered as a victim under the guidelines.
According to the logic employed by the Respondent, each individual
"suffered lost growth opportunities in their retirement and investment
accounts" over a period of several years. (Response at 9.) This
statement has no bearing on the definition of a victim as set
forth in this circuit. "When a customer of a bank or credit card
company is defrauded, the customer is generally protected by an
agreement that the bank or company will handle any fraud based
upon unauthorized charges against the customer's account." United

States v. Erpenbeck, 532 F.3d 423, 442 (6th Cir. 2008). As Yagar

 

points out, a loss under this type of contractual agreement is
necessarily temporary, and the only victim of fraud under these

circumstances are the guarantor of the account, not the customer.

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Under Sixth Circuit precedence, a person or entity must be
required to take action to be reimbursed in order to be considered

a victim. See, United States v. Stubblefield, 682 F.3d 502, 511-

 

12 (6th Cir. 2012)(citing Erpenbeck); United States v. Munar,

419 Fed. Appx. 600, 614 (6th Cir. 2011)(unpublished)("[W]e also
decline the Government's invitation to apply ... a First Circuit
case that expressly disapproved of.§aga£, in which, unlike the
instant case, the district court had before it 'declarations of
victim losses' that supported that the individuals suffered actual

economic harm despite being reimbursed for their losses.")

D. Counsel's ineffectiveness regarding the securities
law violation enhancement

The Respondent's position on this ground misstates the issue
raised by the Petitioner and relies on factual assertions that are

currently in dispute.

As an initial matter, Mr. Salyer does not dispute the fact
that he conducted business outside the scope of his employment
with MetLife. The Respondent's alteration to his statement - the
addition of the phrase “purportedly false" - therefore appears
to be intentionally misleading. On the contrary, Petitioner's

claim is that he filed the requisite disclosure of outside business

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on any such activity and that it was in accordance with securities

laws.

With respect to the remainder of the Respondent's argument
on this ground - that he forged client signatures, that he lied to
his clients regarding the nature of the investments, and that
he produced fraudulent account statements - the Petitioner
incorporates the foregoing sections on factual disputes and
statements of fact to which there is no dispute by reference as if
fully restated herein. The Respondent's reliance on the PSI and/or
the plea agreement is misplaced whereas the validity of each;

is brought into question as a result of counsel's ineffectiveness.

E. Absent counsel's constitutionally deficient advice,
Mr. Salyer would have entered a plea<Ifguilty only
to the substantive offenses charged.

 

The crux of Petitioner's claim on this ground is that he
concedes that he would have entered a plea of guilty to the
substantive offenses charged in counts one through three in the
superseding indictment without agreeing that any individual lost
any money as a result of the breach of federal statutes. Had
he been aware of the option, Mr. Salyer would have required the

prosecution to prove that any losses were experienced whatsoever.

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It is the Respondent's position that by pleading without
a written agreement, the Petitioner may have lost his one-level
reduction to the guideline sentencing range for accepting

responsibility.

The ultimate question under Strickland and Hill v. Lockhart,
474 U.S. 52 (1985) is whether the defendant has "established the
reasonable probability that he would not have entered his plea
but for his counsel's deficiency." Premo v. Moore, 131 S.Ct.
733, 744 (2011)(emphasis added). The issue here is not whether
counsel was competent in his assessment and advice regarding the
likelihoodc£iconviction, but rather in advising that there were
any benefits to excepting a plea agreement that contained factually
incorrect stipulations. See, Griffin v. United States, 300 F.3d
733, 737 (6th Cir. 2003)(noting that it is "easier to show prejudice
in the guilty plea context" than in other contexts "because the
claimant need only show a reasonable probability that he would

have pleaded differently").

In §ill, the Court stated that "where the alleged error of
counsel is a failure to investigate or discover potentially
exculpatory evidence, the determination whether theerror 'prejudiced'
the defendant by causing him to plead guilty rather than go to

trial will depend on the likelihood that discovery of the evidence

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would have led counsel to change his recommendation as to the

plea." 474 U.S. at 59.
CONCLUSION

Wherefore, for the foregoing reasons, the Petitioner respectfully
submits that counsel's deficient performance has been conceded
by the Respondent and an evidentiary hearing is therefore warranted

to determine the extent of prejudice suffered by the Petitioner.

Respect ully// mi ted,

Dated: //[ Z{/ZO/j § M ,

Mark Salyer, pro se
43560-074 FCI Beckley
P.O. Box 350

Beaver, WV 25813

CERTIFICATE OF SERVICE

I hereby certify under penalty of perjury that a true and
correct copy of the foregoing has been placed in the institutional
mailbox, appropriate postage prepaid and addressed to:

AUSA

U.S. Courthouse

220 W. Depot Street
Greeneville, TN 37743

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on this, the day of November, 2013.

 

 

Mark Salyer, @ro se

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Copy of Presentence Investigation Report
with annotations in margin by attorney Dan Smith

Due to security restrictions implemented by the Bureau of
Prisons, Exhibit 1 will be submitted under a separate cover and
mailed directly from the office of the Case Manager responsible
for maintaining sensitive documents related to the instant criminal

action.

EXHIBIT

Table of discrepancies currently on the record
in the above styled criminal action

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NOTES ON 'I'HE TABLE

1. Paul Clark

In the plea agreement, page 3 lists: Paul Clark $100,000
on August 3, 2007, Ruby Clark $100,000 on August 3, 2007. Page
4 of the plea agreement lists Paul and Ruby Clark $100,000 each
on August 3, 2007. The Superseding Indictment also lists, in
Count One, Paul and Ruby Clark $100,000 each on August 3, 2007;
and, in Count Ninety-eight: Ruby Clark $100,000 on August 3, 2006
and , in Count Ninety-nine: Paul Clark on August 3, 2006.

2. Maxine Lewis

The $64,500 returned to Maxine Lewis were only the funds
returned to her where the records were obtainable at the time.
This individual, like many others, received furds directly from
their individual investments. The records of these were converted
by MetLife from the office of Mr. Salyer.

3. Tony and Edna Pifer

 

On 6/22/07 a cashier's check for $8,484.99 made payable to
Financial Services, Inc. for the benefit of Edna Pifer was issued
to pay off an existing car loan so she could obtain the title.
The plea agreement lists Tony and Edna Pifer $8,500 on 7/27/07.
The First Superseding Indictment, as part of Count One, lists
Anthony Pifer $8,500 on 7/27/07. As part of Count Two, it lists
Edna Pifer for the same amourt on the same date. This $8,500
on 7/27/07 was caused by the individual replacing the funds
withdrawn on 6/22/07 with the proceeds from the sale of her car.

The Lewis and Pifer examples are no different than numerous
others, They are used in this instance because the handwritten
notes in the margin of the PSI demonstrates counsel's awareness
of the discrepancy and other similar transactions.

4. "PH"

 

The information included in the First Superseding Indictment
and the information included in the Affidavit of PH, submitted
in a separate matter under oath, are mutually exclusive and cannot
both be correct. »

5. Payment to Lanscaper

 

These fuxds were a loan to this individual to cover his

company payroll. After the media began
allegations of MetLife, that individual
claiming MetLife had told him he had no
SUpporting documents in this matter are
James A.H. Bell law firm.

reporting the unfounded
refused to repay the loan,
obligation to repay.

in the possession of the

